            Case 1:21-cr-00272-TJK Document 25 Filed 10/27/21 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       Case No. 1:21-cr-00272 (TJK)
       v.                                    :
                                             :
JORDAN KENNETH STOTTS,                       :
                                             :
                Defendant.                   :

                         NOTICE OF FILING OF VIDEO EXHIBIT

       The United States of America hereby provides notice that it submitted the following video

exhibit to the Government’s Sentencing Memorandum, ECF 24, by email to Chambers in the abov-

captioned matter.

            •   Exhibit 1 – January 6 body-worn camera video of Stotts inside the Capitol Rotunda

Dated: October 27, 2021

                                             Respectfully submitted,

                                             CHANNING D. PHILLIPS
                                             ACTING UNITED STATES ATTORNEY


                                      By:
                                             CHRISTOPHER D. AMORE
                                             Assistant United States Attorney
                                             Capitol Riots Detailee
                                             NY Bar No. 5032883
                                             U.S. Attorney’s Office
                                             555 4th Street, N.W.
                                             Washington, D.C. 20530
                                             Office: (973) 645-2757
                                             Christopher.Amore@usdoj.gov




                                                 1
